          Case 01-01139-AMC       Doc 22814-7     Filed 08/14/09       Page 1 of 19




                                    GARISOND .TXT


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      1         MONTANA NINETEENTH JUDICIAL DISTRICT COURT
      2                          LINCOLN COUNTY

      3    CAUSE NO. DV-98-132
      4
      5    DANIEL GARRISON, SR. and
           CHARLENE GARRISON, husband and
      6    wife,                              )
                                              3
      7                 Plaintiffs,           )
                                              3
      8          vs.                          )
                                              )
      9    W.R. GRACE & CO. - CONN., a        3
           Connecticut corporaton, W.R. GRACE 3
     10    & CO, a Deleware corporation,      3
           W.R. GRACE & CO., a/k/a GRACE, an  )
     11    association of business entities,  )
           and DOES I-IV,                     )
     12                                       )
                        Defendants.           )
     13
     14

     15                           DEPOSITION
     16                               OF

     17                    DANIEL GARRISON, SR.

     18                On Behalf of the Defendants

     19
     20
                      Taken at the venture Motor Inn
     21           443 US Highway 2 west, Libby, Montana
                        Monday, February 28, 2000
     22                         10:30 a.m.

     23
     24
           ReDorted by Connie S. Costanza, CSR RPR, and Notary
     25    public for the State of Montana, La(e County.
ci

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      1                   APPEARANCES
                                        Page 1
           Case 01-01139-AMC             Doc 22814-7    Filed 08/14/09       Page 2 of 19




                                         GARISOND.TXT
     10              Q.       Mr. Garrison, how would you like me to
     11     address you during the deposition today?
     12              A.       How would I like to have you address me?
     13              Q.       Yeah.     what do you want rile to call you?
     14              A.       oh, just Dan.
     15              Q.       Dan, have you ever had your deposition
     16     taken before?
     17              A.       No.
     18              Q.       Let me just run through some ground
     19     rules.        You’ve probably already gone through them
     20     with John, but just to make sure that you hear them
     2].    from me.       The first one, of course, is that you
     22     understand that you’re under oath.
     23              A.      Urn-hmm.
     24              Q.      The second one is, if you could remember
     25     to answer audibly to have Connie take down
LI

                                                                         5

      1     everything, so instead of um-hmms or urn-urns or head
      2     nods, a yes or a no or something audible.            Okay?
      3                      And then the next one is, if you could
      4     try to remember and wait until after I finish my
      5     question before you begin to answer so that, again,
      6     the court reporter can take down everything
      7     correctly.       If we’re talking at the same time she

      8     has a heck of a time keeping them separate.            okay?
      9                      And then the last one, and most
     10     important, is that you and I communicate with one
     11     another, so if i ask you something that you don’t
     12     completely understand, please don’t be bashful to
     13     tell me that and I’ll reword it or rephrase it so
                                               Page 4
         Case 01-01139-AMC      Doc 22814-7    Filed 08/14/09      Page 3 of 19




                                   GARISOND .TXT
    14    that you’re confident and I’m confident that you’re
    15    answering the question that’s being asked.     Okay?
    16          A.    Yes.
    17          Q.    Okay.    Dan, in speaking with your
    18    counsel, I believe a week or two ago he informed me
    19    that you’ve recently been diagnosed with lung
    20    cancer; is that correct?
    21          A.    Yes.
    22          Q.    And, Dan, that was Dr. whitehouse that
    23    diagnosed that?
    24          A.    Yes.
    25          Q.    john also mentioned that you have to go
0

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     1    back for another procedure; is that correct?
     2          A.    Yes.
     3          Q.    what is the procedure you have to go
     4    back for, do you know?
     5          A.    They’re going to put me under and put a
     6    scope, some kind of scope inside my lung and then
     7    they will determine if there is enough that they can
     8    take out to slow down the cancer in the lung or
     9    portion of the lung or all of it.
                Q.    i see.    so it’s to determine whether
    11    surgery is an option and see what you can do with
    12    surgery?
    13          A.    Yes.

    14          Q.    okay.    And do you know, Dan, had you
    15    already given a biopsy over there?
    16         A.     A   biopsy consisting of possibly they
    17    drained out a tube of fluid Out of the lung.
                                      PageS
          Case 01-01139-AMC              Doc 22814-7    Filed 08/14/09       Page 4 of 19




                                            GARISOND .TXT
     18              Q.    okay.        And then that’s what they used to
     19    diagnose the lung cancer?
     20             A.     They said it was full of cancer cells.
    21              Q.     Dan, when is the procedure that they are
    22     going to do that we just talked about, when are you
    23     going to have that done?
    24              A.     when are they going to have it done?
    25              Q.     Yes.
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     1              A.     I go in Tuesday for a pre-op.
     2              Q.     Tomorrow?
     3              A.     Yes.        And Wednesday at eight o’clock in
     4     the morning at the Deaconess Hospital.
     S              Q.     Do    you know, Dan, is that an outpatient
     6     procedure?      will you be going home that same day or
     7     will you be hospitalized?
     8              A.     They said I’ll be in, if they don’t take
     9     it out, for three days, but if they take any portion
    10     of the lung out, it will run from five to seven
    11     daysand if they take the whole lung out it carirun
    12     up to as high as three weeks.
    13              Q.     I    see.    And do you know, Dan, is the
    14     lung cancer localized in one of the lungs or is it
    15     in both of the lungs?           DO OU   know that at this
    16     point?
    17              A.    we   have no proof of it     --   at this time of
    18     it being in both lungs.
    19              q.     So what lung is it in?
    20              A.     The left one.
    21              Q.     so there’s a possibility that they’ll
                                              Page 6
         Case 01-01139-AMC               Doc 22814-7    Filed 08/14/09      Page 5 of 19




                                            GARISOND .TXT
    22    take your whole left lung out, huh?
    23            A.       They said when they drained it it was
    24    clear full of liquid; it was not even being used.
    25            Q.       i see.        since they’ve drained the liquid


                                                                        8

     1    has it been easier to breath?
     2            A.       For four or five hours afterwards I
     3    breathed way better.             i drove home from Spokane that
     4    afternoon and I kind of enjoyed the trip coming
     S    home.       I didn’t have no pain in my rib cage; my
     6    headache went away that I’d had for three months and
     7    aspirin didn’t even look at -it, and my vision was
     8    way better.       i really enjoyed the trip home compared

     9    to going in that morning.
    10            Q.       Sure.        And then presumably it filled up
    11    with some more liquid and those symptoms came back,
    12    did they?
    13            A.       I don’t know.        That was only two and a
    14    half weeks ago they drained it.
    15            Q.       How does it feel now?
    16            A.       It    hurts.     Hurted all night long.      I’ve

    17    been taking imitation Tylenol.
    18            Q.       Have all those symptoms come back that
    19    you were talking about, like the headache?
    20            A.       No,    no.     My head’s been perfect   --




    21    well    -




    22            Q.      And how about, you mentioned your
    23    vision, you had been having some problems with your
    24    vision?
    25            A.       Not now.        I was wearing these because      --




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                                               page 7
             Case 01-01139-AMC      Doc 22814-7        Filed 08/14/09    Page 6 of 19




                                        GARISOND .TXT


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         1    I   don’t normally wear glass, but after you put them
         2    on and read some stuff with them and then you sit
         3    around it takes a little while foryour eyes to
     4        focus back, you know.     Get up in the morning, don’t
     S        put them on and go all day without them never
     6        bothered you, but once you put them on then you have
     7        to start wearing them for awhile until you get
     8        outside and you stretch your eyes out on the
     9        mountains or something.
    10               Q.    Do you always use them for reading,
    11        though?
    12               A.    Yeah, for reading.       They’re bifocals.
    13        when i used to go hunting i would wearglasses early
    14        in the morning before daylight, or just as it’s
    15        breaking daylight, or late in the evening as it’s
    16        starting to get dark before the season ends.        And it
    17        does determine whether you’re going to shoot a buck
    18        or a doe.
    19               Q.    sure.   Dan, let’s talk a little bit
    20        about shortness of breath.     Now I understand you
    21        suffer from shortness of breath?
    22               A.    Yes.
    23               Q.    When did you start noticing that you
    24       were suffering from shortness of breath?
    25               A.    sour to five years ago.
a

                                                                    10

     1               Q.    so middle ‘90s?    Is that fair?
     2               A.    Fair enough.
                                           Page 8
          Case 01-01139-AMC        Doc 22814-7          Filed 08/14/09       Page 7 of 19




                                        GARISOND .TXT
      3            Q.    And what types of things do you recall,
      4    1 that brought that to your attention?
           Dan                                                  what
      5    types of things were you doing that you noticed you
      6    were starting to suffer from shortness of breath?
      7            A.    Going up stairs, cutting wood, mowing
      8    the lawn, greasing the cars, rolling around under-
      9    neath and get out and have to set some place to
     10    breathe.     i don’t know.     There’s probably a dozen
     11    others that you could name.        It just goes in every
     12    day living experience, you know.
     13            Q.    You just noticed that you started
     14    getting winded?
     15            A.    Yes.    You just have to quit.        And up
     16    till about two years ago I never even had pain with
     17    it, but about two years ago it started having pain
     18    with it.
     19            Q.    Okay.    could you describe the pain for
     20    me?
     21            A.    well, it’s not like you mashed your
     22    thumb, you know.      It’s just a drawing hurt.        That’s

     23    about the size-of it.        It’s kind of like a drawing
     24    hurt.
     25            Q.    Did it hurt more in one part of the day
LI

                                                                        11

      1    versus the other?
      2            A.     (Witness shakes head no.)
      3            Q.    And was it kind of constant in your
     4     chest area?
      5            A.    if you considered the time when it would

      6    hurt the worst, would be the worst, would be early
                                           Page 9
              Case 01-01139-AMC       Doc 22814-7    Filed 08/14/09           Page 8 of 19




                                         GARISOND.TXT

          7    in the mornings.
      8                 Q.   That’s the time when it would be the
      9        worst?
     10                 A.   That would be the worst.
     11                 Q.   Dan, would it be a lot different than
     12        when you used to have, say, a real bad chest cold?
     13        You know how you can have aches and pains in your
     14        chest area.    Was it different than that?
     15                 A.   It’s absolutely different.
     16                 Q.   okay.   was it kind of like your chest
     17        muscles contracting, you know?      You were saying it
     18        was kind of a drawing feeling?
     19                 A.   Can I use the doctor’s term on it?
     20                 Q.   sure; whatever you can use.
     21                 A.   she said it seems like after i had these
     22        first x-rays over two years ago when the radiologist
     23        stated what he thought I had, she said, Dan, when
     24        that’s happening it’s taking back little portions of
     25        your lung that has been captured.      Now did I say
El

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      1        that right?
      2                 Q.   Sure.   Sure.   And this you said you
      3        started noticing about two years ago?
      4                 A.   yeah; the worst.    well, that   --   we’re
      5        talking about when you should be writing.           I’m
      6        sorry.
      7                      I was going to correct you.      It started
      8        that way a little over three years ago.
      9                 Q.   okay.   And over the last three years,
     10        Dan, did the pain get progressively worse or has -it
                                        Page 10
           Case 01-01139-AMC           Doc 22814-7    Filed 08/14/09        Page 9 of 19




                                          GARISOND .TXT
     11.    kind of stayed the same?         How would you describe
     12     what it has done over the last three years?
     13           A.         on the short of winded part, when I get
     14     winded the pain has stayed the same, but the
     15     coughing has gotten real, real worse, just
     16     eventually got bad, and as it got bad it started on
     17     circulating more hurt on coughing in my right lung.
     18           Q.         okay.    so when you would cough, your
     19     right lung would start to hurt more.
     20           A.         Right.    i believe she said it’s the     --




     21     where the bronchial tube goes into your lung it
     22     shows a gray ring around the base of it, which she
     23     said was asbestosis.
     24           Q.         And that’s kind of the area that would
     25     hurt when you’d have coughing?
El


                                                                       13

      1           A.         That’s the area that hurt the worst.
      2     And that does have me bothered a little bit when
      3     they’re working on my left lung.
      4           Q.         Sure.
      5           A.         Now you asked about when this started
      6     hurting    --   excuse me.    But the left lung did not
      7     start hurting until just three or four months ago.
      8           Q.         Okay.
      9           A.        when i started getting pains in the
     10     ribs, in the      --   soreness in here and in the middle
     11     of my spinal cord in my back, and then right
     12     straight in, that’s when it started hurting.         You

     13     asked when it started hurting, that’s when it
     14     started.
                                            Page 11
         Case 01-01139-AMC        Doc 22814-7      Filed 08/14/09        Page 10 of 19




                                    GARISOND .TXT
    15            Q.   Okay.     But the pain in the right side
    16     started hurting about three years ago?
    17            A.   Yes.
    18            Q.   And putting aside any coughing for just
    19    a second, Dan, did the right side pain get worse
    20    over the last three years?
    21            A.   No; no.
    22            Q.   So it has stayed the same, which is
    23    primarily when you’ve been coughing?
    24            A.   Yes.
    25            Q.   So am I getting this right, then, if you
a

                                                                    14

     1    weren’t coughing and you weren’t having a coughing
     2    fit you weren’t having pain in the right side?
     3            A.   In the right side, none.

     4            Q.   And then up about three or four months
     5    ago you started having pain on the left side.         And

     6    could you describe that for me?         Has it been

     7    constant?
     8            A.   Yes.    And especially when you want to

     9    sit down, put your shoes on, lay on your left side,
    10    lay on your stomach or doing anything with your arms
    11    above your head.     is that pretty much clear by that,
    12    your question I mean?
    13            Q.   Um-hmm, it is.
    14                 Has that caused you problems in sleeping
    15    then?
    16            A.   oh, yes.
    17            Q.   Because you can’t roll on your left
    18    side?
                                        Page 12
          Case 01-01139-AMC      Doc 22814-7         Filed 08/14/09       Page 11 of 19




                                     GARISOND TXT

    19            A.     yes.   i spend a lot of nights in the
    20      last three years in a chair or on the daveno.
    2].           Q.     You seem to be able to sleep a little
    22      better that way?
    23            A.     Yes; with my shoulder and head
    24      elevated.    Not because of the coughing, but because

    25      of the breathing and short of,breath.            Lay flat on
a

                                                                         15

     1      your back you get shorter of breath than ever.
     2            Q.     Dan, when did you start noticing the
     3      cough as a fairly consistent cough?
     4            A.      Four years ago.

     5            Q.     And did you cough for some time before
     6      you started feeling the pain in the right side when
     7      you did cough?
    .8            A.      Just, I got to get that in my mind.
     9      That was kind of a heavy question.         Did I cough
    10      before I started noticing the pain, yes.
    11            Q.     Because the reason I asked you that is
    12      you had said that you started feeling pain in the
    13      right side about three years ago and then you said
    14      you started noticing a constant cough about four
    15      years ago.
    16            A.     Four years ago.
    17            Q.     Dan, when you cough do you have a
    18      productive cough?    Do you spit up anything?
    19            A.     Very little.    And the most that ever
    20      comes out of my lungs is when I go        --   (coughs).

    21      get It in my throat and go      --   (coughs).     Can you

    22     write that down?
                                        Page 13
         Case 01-01139-AMC            Doc 22814-7    Filed 08/14/09     Page 12 of 19



                                         GARISOND.TXT
    17           A.      NO,     no; never even worked around where
    18     there was some.
    19           Q.      Ever work with tile and floor tile?
    20           A.      No.     I   told you    wished I’d have been a
    21     carpenter, but I wasn’t.
    22           Q.      How about, you mentioned you did the
    23    maintenance on your vehicles.           Did you ever do much
    24    on brakes?
    25           A.      NO.
U


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     1           Q.      who would usually do your brake work
     2    over the years?
     3           A.      well, when you’re driving for somebody
     4    they have transfer brake lining.           They come in a
     5    box.   you take the box, open the box, put your old
     6    ones back in the box and send them back and put your
     7    new ones on.     And I never did get much of that.
     8    That’s the easy part of it.           It’s the changing the
     9    tire with the bar and tools and the hammer that I
    10    got in on, and I did lots of that.
    11           Q.      But when you were driving truck you
    12    didn’t dornuch brake lining work yourself other than
    13    replacing it and taking ft out of a box?
    14           A.      Yeah.       But they did that.   I said that
    15    was the easy part.         BUt if you had a flat tire on
    16    the inside and you come home, you could work all
    17    night fixing a tire to put back on.
    18           Q.      well, Dan, I think Connie needs a break.
    19    Why don’t we just take five or ten minutes, huh?
    20                   (Short break taken.)
                                       Page 95
          Case 01-01139-AMC             Doc 22814-7    Filed 08/14/09    Page 13 of 19



                                          GARISOND TXT
     21               Q.    (BvMR. MaCDONALD:)        Dan, your
     22     employment records with W.R. Grace, or I guess it
     23    was zonolite then, indicated that you started in
     24     early December of ‘56 and worked for roughly six
     25    weeks and ended in January of ‘57.            is that your
ci

                                                                        110

      1     recollection?
      2               A.    That’s it.
      3               Q.    And you already told me a little earlier
      4    why you started up there.           Do you remember who your
      5     boss was?
      6               A.    The first I worked, the shifter boss,
      7     the mill boss there was Jack Garrison.           Then he went

      8    off of nights and went on days.            And then I didn’t
      9     have no boss.         C-b   don’t have a boss.   There’s only

     10    one man works -it, but they got a radio, and the
     11    other shifter boss radios on their radio, gets the
     12     scale reading     --    you’re running a belt over a scale
     13     all the time     --    and gets a scale reading and tells
     14    you   --    you got two belts.      One reads the dry mill,
     15    one reads the wet mill.           we want a little more
     16     number one or number three or number two.             And you

     17    go back and you cut the one down and put the other
     18    one on.                        so actually your boss is the
     19     radio, and whichever boss is in the dry mill or in
     20    the wet mill, that’s your boss whileyou’re there.
     21     i was there six weeks in there.
     22               Q.    And what actual job was it?       Do you

     23     remember the title of that job?
     24               A.    They checked it c-b.
                                          Page 96
                  Case 01-01139-AMC            Doc 22814-7    Filed 08/14/09     Page 14 of 19



                                                  GARISOND.TXT
          25                   Q.    C-1O?
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              1               A.     That’s what the paychecks had written on
              2     it   --   not dry mill, not wet mill, but C—10.      And not
              3     the mine.       I had nothing to do with the mine, you
              4     know.
              5               Q.    And, Dan, do you remember like where you
          6         were up there at zonolite when you were working?
          7         Was it in the dry mill?
          8                   A.    No.   It was behind both mills, back
          9         underneath the bins,         where the mine comes up and
         10         dumps into the bins, the ore on the big conveyors
         11         dumps in the bins, and i was at the bottom of them
         12         bins.
         13                   Q.    And you’d have a radio.
         14                   A.    Yeah; on a past.
         15                   Q,    Anddid you do this job all the time
         16         during that six weeks?
         17                   A.    That’s what I did while I was there,
         18        yeah.       You sweep up.
         19                   Q.    underneath the bins.
         20                   A.    The spilling around where the bins are
         21        feeding and where the belts separate, divider belts
         22        and stuff spilled a little.         You’re always sweeping
         23        and cleaning up there.         But that’s fresh ore; that’s
         24        not dried.       That’s fresh ore out of the mine.
         25                   Q.    Fresh ore out of the mine?
El

                                                                               112

                                                    Page 97
     Case 01-01139-AMC         Doc 22814-7       Filed 08/14/09    Page 15 of 19




                                     GARISOND .TXT
 1             A.    Yeah.
 2             Q.    So it was outside?
 3             A.    No.     It’s got a shed like this over it,

 4     what you’d call a breeze-way.
 5             Q.    But it wasn’t an enclosed place.
 6             A.    Yeah; it’s enclosed, totally enclosed,
 7     walls on both sides.
 8             Q.    Right; on two sides, but not walls on
 9     four sides.
10             A.    Yeah.     But there was a hallway over
U      here, the port side      --   you’re talking about the port
12     side.    There’s a long hallway open there.        That’s
13     where the bins are.      All them bins is right here.
14     And the other end’s opened where it goes into the
15     wet mill and separates off and goes towards the dry
16     mill, that’s open; there’s big open doors.
17             Q.    so I guess what I’m saying is, then, you
18     have a roof over your head and then there are walls
19     on two sides but not on all four sides.
20             A.    Yes.
21             Q.    And then you’d be sweeping, cleaning up
22     underneath these bins.
23             A.    Yes.
24             Q.    And then the radio person would come on

25    and say, Dan, we need more one or more two, and by


                                                                  113


 1    virtue of that instruction you would perform some
 2    task to change the type of ore that would go on
 3     certain conveyor belts?
 4             A.    Yes.    But before that you had to take
                                       page 98
         Case 01-01139-AMC          Doc 22814-7        Filed 08/14/09     Page 16 of 19



                                        GARISOND.TXT
     5     the weight the scale was running and you had to give
     6     them the weight and they’d tell you then how much
     7    more to give them, or less.
     8            Q.     And when you started off, you start off
     9    on day shift?
    10            A.     Yes.

    11            Q.     And at that time       - -




    12            A.     No   --   excuse me.    No.   Night shift.
    13            Q.     When you say night, that’s not swing,
    14    that’s graveyard?
    15            A.     That’s swing, not graveyard.
    16            Q.     So like 3 to 11 at night?
    17            A.     4toll.
    18            Q.     And 3ack Garrison was your supervisor?
    19            A.     He’s the one that set me up on the job
    20    the day i went up there.         Then after the first week
    21    he wasn’t on the radio no more; he was someplace
    22    else.
    23            Q.     Because he went to day shift.
    24            A.     Day shift or graveyard.         He changed
    25    shifts.
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     1            Q.     And were you there underneath the bins
     2    by yourself?
     3            A.     Yes.

    4             Q.     So there’s no one else around working
     5    with you?
    6             A.     Not a sole.
     7            Q.     Did you know, Dan, that there was
    8     asbestos in the minerals that would be dumped into
                                          Page 99
         Case 01-01139-AMC      Doc 22814-7        Filed 08/14/09    Page 17 of 19




                                      GARISOND. TXT
     9     the bins?
    10           A.      I never knew what asbestos was, no way,

    11     shape, form in the world.
    12           q.      Maybe I didn’t ask that very
    13     accurately.    i wasn’t asking you if you knew what

    14     asbestos was, just did you know there was asbestos
    15     in the ore?
    16           A.      NO.

    17           Q.      Never heard the word asbestos?
    18           A.      NO, never.

    19           Q.      Did you know what they were doing in the
    20     mill, what they were tryingto get at in terms of
    21     the milling process up there at zonolite?
    22           A.      well, in the dry mill they was drying
    23     the ore, in the dry mill they was drying it.          And in

    24     the wet mill i don’t know what they was doing with
    25     it. I have no idea in the world how it come out of
a
                                                                    115


     1     there wet.    I mean, they had a sediment of some
     2     kind, and it must have been separating number one
     3     from number two from number three and the rock,
     4     because all that dust and rock was in there.
     5           Q.    Did you know that the milling process
     6     was trying to separate the good ore from the bad
     7     stuff so they could sell the good ore?
     8           A.    That’s what I knew. And that was what
     9     their dry mill was doing.      And then they put the wet

    10     mill in before I went up there, of course.        And

    11     that’s what the wet mill was doing.        They was

    12     swirling like a gold panning outfit.        I’d never seen
                                        Page 100
          Case 01-01139-AMC         Doc 22814-7      Filed 08/14/09     Page 18 of 19



                                       GARISONO TXT
     13    one only on television, but like it swirled.
     14                Q.   Dan, what do you recall the contaminant
     15    mineral being called up there, the stuff that they
     16    were trying to separate out of the good ore?
     17              A.     well, the one thing they were trying to
     18    separate is, get the rock out.       And the next thing
     19    they did was the separation only on size, on size.
     20    I’m not sure whether it was 100 or 200 or 300 or

     21    just one, two or three or what, but it was the size
     22    of the pebbles of the ore.       They’re flakes, you
     23    know, blue flakes.        I can still see them in my
     24    sleep, since this has come up, you know.          Before for

     25    a hundred years it never, entered my mind.
ci

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      1                Q.   And, Dan, but the only word you used for
      2    the stuff that they were trying to separate was

      3     “rock,” that they were separating out the rock?
      4                A.   Taking out the rock and separating size.
      5                Q.   Okay.
      6                A.    Because I believe there is only one
      7    grade of ore up there.        It’s just the different

      8     sizes.
      9                Q.   Was where you worked, Dan, was it very
     10    dusty?
     11                A.    It was dust where it come down out of
     12     the bins, out of the zonolite      --   well, on a farm

     13    they call them elevators, where they put grain in.
     14    well, these here, it was just, to my knowledge, just
     15     bin   --    bin one, bin two, bin three.    And where that

     16     spilled down onto the belt, you open it up you’ll
                                          Page 101
         Case 01-01139-AMC             Doc 22814-7      Filed 08/14/09        Page 19 of 19



                                          GARISOND .TXT
    17     spill more onto the belt or shut it down.             The dust

    18     pours Out from it constantly.           It’s dirty dust.
    19     It’s pure dirty dust that pours out constantly from

    20     it, from the mining.
    21              q.      when you first started there up at
    22     Zonolite were you given any safety equipment?
    23              A.      The day i started up there they didn’t
    24     eventell me to wear a hard hat, and so I didn’t.
    25              Q.      And did you eventually start wearing a
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     1     hard hat?
     2              A.      No; never did.      Never said I had to

     3     have.
     4              Q.       So Jack never told you to wear a hard
     5     hat or steel-toed boots or anything like that?
     6              A.       No.     Nobody tO my knowledge did.    A

     7     hundred different kind of caps and hats, but no hard
     8     hats.
     9              Q.       Okay.     How about a respirator in the

    10     dusty areas?        Did you ever wear a respirator?
    11              A.       I wore a respirator when they sent me to
    12     sweeping up on the top dry floor.              And one of the
    13     workers said, Dan, there’s some respirators in
    14     there.        They called me Danny, I’m sorry.        Everybody

    15     who used to know me called me Danny.              said, Danny,

    16     there’s some respirator cover masks in there.                 If

    17     you’re going up on the top floor why don’t you wear
    18     one so you’ll be able to eat your supper tonight;
    19     otherwise there’ll be so much mud in your throat you
    20     can’t eat.        Then he said stick a couple in your
                                             Page 102
